 

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

---- -X Civil Action No.: 2:19-cv-1327
DEIDRA HUBAY, ROBERT LOSIENIECK],
JESSICA DORANTES and
ALEXIS GABRIELLE HERRICK,

 

Plaintiff,
VS.

JANELLE MARINA MENDEZ, PAMELA HEAL
and MILITARY SEXUAL TRAUMA MOVEMENT,
cnn aie — ia ast x
DEFENDANTS’ MOTION FOR A PRELIMINARY INJUNCTION PURSUANT TO
FRCP §65

 

PLEASE TAKE NOTICE, the defendants pursuant to this Court’s Order dated February 28,
2020 directing both parties to file Motions for Preliminary Injunctions, and upon the annexed
affirmation of Robert G. Androsiglio, Esq., attorney for the defendants dated the 9" day of March,
2020, and upon all the prior pleadings heretofore had herein, the undersigned will move this Court
at District Judge J. Nicholas Ranjan Courtroom Number 6C, to be held in and for the in the United
States District Court for the Western District of Pennsylvania located at 700 Grant Street, Pittsburgh,
PA, on the 8" day of May, 2020, at 9:30 a.m. for an Order pursuant to FRCP § 65 for an Order for
a Preliminary Injunction enjoining all Plaintiffs and all persons acting on their behalf from claiming
the subject photographs related to copyright interests and likeness and names of individuals are
properly owned and copyrighted by Plaintiffs and to further enjoin Plaintiffs from notifying websites
hosts, social media and news outlets that the subject photographs are not owned by the Defendants
and to further rule that Defendants hold the proper copyright for the photographs and are the righfull
owners of photographs together such other, further and different relief as to this court seems just and
proper.

Dated: New York, New York
March 9, 2020 Respectfully submitted,

THE LAW OFFICES OF
ROBERT G. ANDROSIGLIO, P.C.

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By; <= ae ons oa
Robert G. Ajidrosiglio, Esq.

 
 

TO:

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IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DEIDRA HUBAY, ROBERT LOSIENIECKI,

JESSICA DORANTES and ALEX GABRIELLE HERRICK,
Plaintiffs,

- against -

JANELLE MARINA MENDEZ, PAMELA HEAL
and MILITARY SEXUAL TRAUMA MOVEMENT,

Defendants.

 

NOTICE OF MOTION AFFIRMATION IN SUPPORT & EXHIBITS

 

THE LAW OFFICES OF
ROBERT G. ANDROSIGLIO, P.C.
Attorneys for Defendants
30 Wall Street
8" Floor
New York, New York 10005-2205
(212) 742-0001

 

To:

Aitorney(s) for

 

Service of a copy of the within is hereby admitted.

 

Dated:
Attorney(s) for
PLEASE TAKE NOTICE
le) that the within is a (certified) true copy of a entered in the office of the clerk of the within
named Court on 20
[] that an Order of which the within is a true copy will be presented for settlement to the Hon,
one of the judges of the within named Court, at on ,20 , at .m.
Dated:
The Law Offices of
Robert G. Androsiglio, P.C.
Attorneys for Defendants
30 Wall Street - 8" Floor
New York, New York 10005-2205
(212) 742-0001
To:

Attorney(s) for

 
